                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MISSOURI


GUADALUPE ADAMS, Individually,           :
                                         :
              Plaintiff,                 :
                                         :
v.                                       :             Case No. 6:16-cv-3272
                                         :
NEL-AISHA HOSPITALITY, INC.              :
A Limited Liability Company              :
              Defendant                  :
_______________________________________/ :
                                         :

                             SECOND AMENDED COMPLAINT


       Plaintiff, Guadalupe Adams (hereinafter “Plaintiff”), hereby sues the Defendant, Nel-Aisha

Hospitality, Inc., a Domestic Company (hereinafter “Defendant”), for Injunctive Relief, and

attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42

U.S.C. §12181 et seq. (“ADA”). In support thereof, Plaintiff states:

1.     This action is brought by Guadalupe Adams, and all persons similarly situated, pursuant to

the enforcement provision of the Americans With Disabilities Act of 1990 (“ADA”), 42 U.S.C.

12188(a) against the owners and/or operators of the America’s Best

2.     This Court has jurisdiction pursuant to the following statutes:

               a.     28 U.S.C. §1331, which governs actions that arise from the Defendant’s

       violations of Title III of the Americans with Disabilities Act, 42 U.S.C. §12181 et seq. See

       also 28 U.S.C. §2201 and §2202.

               b.     28 U.S.C. §1331, which gives District Courts original jurisdiction over civil

       actions arising under the Constitution, laws or treaties of the United States; and

                                                 1




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                 c.    28 U.S.C. §1343 (3) and (4), which gives District Courts jurisdiction over

        actions to secure civil rights extended by the United States government.

3.      Venue is proper in this judicial district and division. Defendant does business in the State

of Missouri, and all of the acts of discrimination alleged herein occurred in this judicial district

and division.

                                            PARTIES

4.      Plaintiff Guadalupe Adams is a resident of Cowley County, Kansas, suffers from cerebral

palsy, uses a wheelchair, and is an individual with a disability within the meaning of ADA, 42

U.S.C. 12102(2), 28 C.F.R. 36.104.

5.      Plaintiff Guadalupe Adams is substantially limited in performing one or more major life

activities, including but not limited to, walking and standing.

6.      Plaintiff Guadalupe Adams has family that lives in the area and frequently returns to the

area to visit.

7.      Plaintiff Guadalupe Adams was a patron at the America’s Best, located at 900 N. 18th St.,

Ozark, Missouri.

8.      The America’s Best is a place of public accommodation within the meaning of Title III of

the ADA, 42 U.S.C. 12181, 28 C.F.R. 36.104.

9.      Defendant owns, leases, leases to, or operates the America’s Best, and is responsible for

complying with the obligations of the ADA.




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                                                COUNT I

                                     VIOLATION OF THE ADA

10.     Plaintiff realleges paragraphs one (1) through nine (9) of this Complaint and incorporates

them here as if set forth in full.

11.     Plaintiff was a patron at America’s Best on December 5, 2014.

12.     Plaintiff has returned to the property in August 2015 and plans to return the property

again in August 2016, to avail herself of the goods and services offered to the public at the

property but for the barriers in existence that deter her from doing so.

13.     There are numerous architectural barriers present at the America’s Best that prevent

and/or restrict access by Plaintiff, in that several features, elements, and spaces of the America’s

Best are not accessible to or usable by Plaintiff, as specified in 28 C.F.R 36.406 and the

Standards for Accessible Design, 28 C.F.R., Pt. 36, Appendix A (‘the Standards”).

14.     Plaintiff, upon visiting the property, personally suffered discrimination because of her

disability.

15.     There are several elements and spaces that Plaintiff personally encountered and which

discriminated against her based upon her disability, such as:

        a.       The knobs on the lamps in the designated accessible room requires tight twisting

and turning in order to utilize.

        b.       There is no grab bar mounted behind the toilet in the designated accessible room

for an individual in a wheelchair to utilize.

        c.       The side grab bar beside the toilet in the designated accessible room is too short

for an individual in a wheelchair to utilize.




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        d.      The showerhead knob in the designated accessible room requires tight twisting

and turning in order to utilize.

        e.      The showerhead control bar in the designated accessible room is located too high

for an individual in a wheelchair to utilize.

        f.      The coat hook in the designated accessible room is located too high for an

individual in a wheelchair to utilize.

        g.      The clothing rod in the designated accessible room is located too high for an

individual in a wheelchair to utilize.

        h.      The shelf in the designated accessible room is located too high for an individual in

a wheelchair to utilize.

        i.      The air conditioning knobs in the designated accessible room requires tight

twisting and turning in order to utilize.

        j.      There are designated accessible parking spaces that do not have any access aisles

for an individual in a wheelchair to utilize.

        k.      The designated accessible parking spaces have excessively steep slopes that create

a dangerous condition for an individual in a wheelchair.

        l.      There is no curb cut from the designated accessible parking space to the property

for an individual in a wheelchair to utilize.

        m.      There are designated accessible parking spaces that do not have any signage

indicating where the parking is.

        n.      There is no lift in the pool area for an individual in a wheelchair to utilize.

        o.      There is no lift in the spa area for an individual in a wheelchair to utilize.




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        p.       The flush valve in the pool restroom is located on the narrow side of the stall,

making an individual in a wheelchair to have to reach across their own wastes in order to utilize

such.

        q.       The rear grab bar in the pool restroom is too high for an individual in a wheelchair

to utilize.

16.     The discriminatory violations described in paragraph 15 of this Complaint are not

an exclusive list of the Defendants’ ADA violations. The Plaintiff, and all other mobility-

impaired individuals similarly situated have been denied access to, and have been denied the

benefits of, services, programs and activities of the Defendants’ buildings and facilities, and have

otherwise been discriminated against and damaged by the Defendants because of the Defendants’

ADA violations, as set forth above.

17.     The Plaintiff will continue to suffer such discrimination, injury and damage without the

immediate relief provided by the ADA as requested herein. The Plaintiff, and all other

individuals similarly situated, have been denied access to, and have been denied the benefits of

services, programs and activities of the Defendants’ buildings and its facilities, the opportunity to

use such elements, and have otherwise been discriminated against and damaged by the

Defendants because of the Defendants’ ADA violations, as set forth above.

18.     Plaintiff has standing to sue for every barrier to access for the mobility-impaired that

exists on the subject premises. Guadalupe Adams has standing to require that all barriers to

access on the property for the mobility-impaired are corrected, not merely only those Guadalupe

Adams personally encountered.




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19.    Defendants' failure to remove the architectural barriers identified in paragraph fifteen

(15) constitutes a pattern or practice of discrimination within the meaning of 42 U.S.C. 12188

(b)(1)(B)(i) and 28 C.F.R. 36.503 (a).

20.    It would be readily achievable for the Defendant to remove the architectural barriers

identified above.

21.    Defendant is required to remove the existing architectural barriers to the physically

disabled when such removal is readily achievable for its place of public accommodation that

have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there has been an

alteration to Defendant’s place of public accommodation since January 26, 1992, then the

Defendant is required to ensure to the maximum extent feasible, that the altered portions of the

facility are readily accessible to and useable by individuals with disabilities, including

individuals who use wheelchairs, 28 CFR 36.402; and finally, if the Defendant’s facility is one

which was designed and constructed for first occupancy subsequent to January 26, 1993, as

defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and

useable by individuals with disabilities as defined by the ADA.

22.    The Defendant has discriminated against Plaintiff by denying her access to, and full and

equal enjoyment of, the goods, services, facilities, privileges, advantages and/or accommodations

of the buildings, as prohibited by 42 U.S.C. § 12182 et seq. and 28 CFR 36.302 et seq

23.    Defendant continues to discriminate against the Plaintiff, and all those similarly situated,

by failing to make reasonable modifications in policies, practices or procedures, when such

modifications are necessary to afford all offered goods, services, facilities, privileges, advantages

or accommodations to individuals with disabilities.




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24.    Guadalupe Adams has a realistic, credible, existing and continuing threat of

discrimination from the Defendants’ non-compliance with the ADA with respect to this property

as described, but not necessarily limited to, the allegations in paragraph 15 of this Complaint.

Plaintiff has reasonable grounds to believe that she will continue to be subjected to

discrimination in violations of the ADA by the Defendants.

25.    Plaintiff is aware that it will be a futile gesture to re-visit the property until it becomes

compliant with the ADA.

26.    Plaintiff is without an adequate remedy at law and is suffering irreparable harm. Plaintiff

has retained the undersigned counsel and is entitled to recover attorney’s fees, costs and

litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

27.    Notice to Defendant is not required as a result of the Defendant’s failure to cure the

violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees

and gross receipts of $500,000 or less). All other conditions precedent have been met by

Plaintiffs or waived by the Defendant.

28.    Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiff

Injunctive Relief, including an order to require the Defendant to make the property readily

accessible and useable to the Plaintiff and all other persons with disabilities as defined by the

ADA; or by closing the facility until such time as the Defendant cures its violations of the ADA.

29.    Because Defendant has engaged in the acts and practices described above, Defendant has

violated the law as alleged in this Complaint and unless restrained by this Honorable Court,

Defendant will continue to violate the Constitution and laws of the United States of America, and

will cause injury, loss and damage to the Plaintiff, and all others so similarly situated.




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WHEREFORE, Plaintiff respectfully requests that this Court:

       A.      Declare that Defendant has violated title III of the Americans with Disabilities

Act, 42 U.S.C. § 12181 et seq, 28 C.F.R. pt. 36.

               i.     by failing to bring the America’s Best into compliance with the Standards

               where it is readily achievable to do so; and

               ii.    by failing to take other readily achievable measures to remove

               architectural barriers to access when it is not readily achievable to comply fully

               with the Standards.

       B.      Order Defendant:

               i.     to make all readily achievable alterations to the facility; or to make such

               facility readily accessible to and usable by individuals with disabilities to the extent

               required by the ADA;

               ii.     to make reasonable modifications in policies, practices or procedures, when

               such modifications are necessary to afford all offered goods, services, facilities,

               privileges, advantages or accommodations to individuals with disabilities.




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      C.      Award attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

§ 12205.

      D.      Order such other appropriate relief as the interests of justice may require.

                                             Respectfully Submitted,




                                             /s/ Pete M. Monismith___
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